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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )
       v.                            ) CRIMINAL CASE NO.
                                     ) 2:94cr62-MHT
LORENZO HUGHES                       )     (WO)

                            OPINION AND ORDER

       On June 13, 2003, the United State Magistrate Judge

entered a recommendation that the 28 U.S.C. § 2255 motion

filed by defendant Lorenzo Hughes on April 10, 2000, be

denied because his claims entitled him to no relief.                    On

June        23,   2003,     Hughes   filed   objections       to    the

recommendation.           An order overruling the objections and

adopting the recommendation was entered on July 10, 2003,

and final judgment was entered the same day.               Hughes did

not appeal from this judgment.

       On May 13, 2006, Hughes filed a pleading styled as

“Petitioner’s Motion to Reopen the Time to File an Appeal

of His Habeas Corpus, 28 U.S.C. § 2255 Application.”1                   In

    1. Although     Hughes’s   motion   is   date-stamped
“received” on May 19, 2006, under the “mailbox rule,” the
                                           (continued...)
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this motion, Hughes states that it was not until May 11,

2006, through a letter he received from this court in

response to his inquiries in January and May 2006 into

the status of his § 2255 motion, that he first learned of

this court’s judgment denying his § 2255 motion.2                       He

asserts that his failure to receive notice of the court’s

judgment   prior    to   this    date--and,     consequently,       his

failure to file an appeal--was “through no fault of his

own.”   Accordingly, he requests that this court grant the

instant motion to reopen the time to file an appeal.




    1. (...continued)
court deems it filed on the date he delivered it to
prison authorities for mailing, presumptively, May 13,
2006, the day that he signed it. See Houston v. Lack,
487 U.S. 266, 271-72 (1988); Washington v. United States,
243 F.3d 1299, 1301 (11th Cir. 2001).

    2. Hughes states that, on January 23, 2006, he filed
a “motion/letter” with this court inquiring into the
status of his § 2255 action. He maintains that on May
1, 2006, when he did not receive a response to his
original inquiry, he filed a second “motion/letter”
requesting the status of his case. According to Hughes,
on May 11, 2006, he received a letter from this court
informing him that a final judgment denying his § 2255
motion was entered on July 10, 2003.
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    Generally, notice of appeal in a 28 U.S.C. § 2255

proceeding must be filed within 60 days after entry of

the judgment being appealed.            Fed.R.App.P. 4(a)(1)(B);

see Butcher v. United States, 368 F.3d 1290, 1293 n.1

(11th Cir. 2004).       “Although the district court clerk’s

office is obligated to serve parties with notice of

judgments and orders, ‘[l]ack of notice of the entry by

the clerk does not affect the time to appeal or relieve

or authorize the court to relieve a party for failure to

appeal within the time allowed, except as permitted in

Rule 4(a) of the Federal Rules of Appellate Procedure.’

Fed.R.Civ.P. 77(d).”       Vencor Hospitals, Inc. v. Standard

Life and Acc. Ins. Co., 279 F.3d 1306, 1309 (11th Cir.

2002).

    Fed.R.App.P. 4(a)(6) authorizes the district court to

reopen the time for filing an appeal upon a motion “filed

within 180 days after the judgment or order is entered or

within 7 days after the moving party receives notice of




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the entry, whichever is earlier.”3          (Emphasis added); see

also 16A Charles A. Wright, Arthur R. Miller & Edward H.

Cooper, Federal Practice and Procedure § 3950.6, at 228

(3d ed. 1999) ("Rule 4(a)(6) provides the exclusive means



    3.   Rule 4(a)(6) provides as follows:

         “The district court may reopen the time
         to file an appeal for a period of 14
         days after the date when its order to
         reopen is entered, but only if all the
         following conditions are satisfied:

             (A) the motion is filed within 180
         days after the judgment or order is
         entered or within 7 days after the
         moving party receives notice of the
         entry, whichever is earlier;

             (B) the court finds that the moving
         party was entitled to notice of the
         entry of the judgment or order sought to
         be appealed but did not receive the
         notice from the district court or any
         party within 21 days after entry; and

             (C) the court finds that no party
         would be prejudiced.”

For purposes of this order, it is necessary to discuss
only the time limit provided in subpart (A) of Rule
4(a)(6).



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for extending appeal time for failure to learn that

judgment has been entered."); accord Vencor Hospitals,

279 F.3d at 1309-11.        Hughes maintains that his attempt

to reopen the time for appeal is timely because he filed

his motion within seven days after he first learned of

this   court’s    judgment      denying       his   §   2255   motion.

However, his argument in this regard is misplaced because

Rule 4(a)(6) establishes an outer time limit of 180 days

after entry of judgment to file a motion to reopen the

time for appeal.     Vencor Hospitals, 279 F.3d at 1310; see

also   advisory    committee’s        notes    to   1991   amendment,

Fed.R.App.P. 4.      The seven-day period specified in Rule

4(a)(6) applies only where the moving party has received

notice of the entry of judgment before expiration of the

180-day period in Rule 4(a)(6) and does not extend the

time limit for filing a motion to reopen beyond that 180-

day period.4     Vencor Hospitals, 279 F.3d at 1310.


    4. Hughes cites McDaniel v. Moore, 292 F.3d 1304,
1306 (11th Cir. 2002), as support for his contention
that, under Rule 4(a)(6), if a defendant files a motion
                                         (continued...)
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    Because Hughes’s motion to reopen the time for appeal

was filed well after expiration of the 180-day period

after entry of the judgment denying his § 2255 motion,

his motion to reopen is untimely under Rule 4(a)(6).

“Under the plain meaning of Rule 4(a)(6), district courts

are authorized to reopen the time for filing an appeal

based on lack of notice solely within 180 days of the

judgment or order.”       Vencor Hospitals, 279 F.3d at 1310.

    Had the court authority to reopen the time for Hughes

to appeal from its judgment, the circumstances of this

case would not weigh in favor of an exercise of that

authority.    The docket sheet reflects that a copy of the

court’s judgment was mailed to Hughes on July 10, 2003--

at the address he provided to the court when he filed his



    4. (...continued)
to reopen the time for appeal within seven days of
receiving notice of entry of judgment, the motion to
reopen is timely.    However, the defendant’s motion to
reopen in McDaniel was filed well within Rule 4(a)(6)’s
180-day limit, and the appellate court’s decision in that
case focused on the question of what constitutes notice
of entry of judgment for purposes of the seven-day period
specified in Rule 4(a)(6).

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§ 2255 motion--with no indication that the mail was

returned.    The court’s files further reflect that Hughes

did not advise the court of a change of address until

January 23, 2006.      Moreover, Hughes offers no explanation

for why he waited until January 2006--over five years

after he filed his § 2255 motion, and over two years

after he filed his objections to the magistrate judge’s

recommendation--to inquire into the status of his § 2255

motion.     “[P]arties have a duty to inquire periodically

into the status of their litigation.”               Latham v. Wells

Fargo Bank, N.A., 987 F.2d 1199, 1201 (5th Cir. 1993).

    In    light   of   the   foregoing,      it   is   ORDERED     that

defendant Lorenzo Hughes’s motion to reopen the time to

file an appeal (Doc. no. 1888) is denied.

    DONE, this 25th day of May, 2006.


                                    /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
